                           LINITED STATES BANKRUPTCY COURT FOR THE
                                 EASTERN DISTRICT OF WISCONSIN


 IN RE                                                      Chapter:   13
 Joseph   A. Gemignani Sr. and Barbara A
 Gemignani                                                  Case No. 21-25588-kmp

          Debtors.

              OBJECTION OF JPMORGAN CHASE BANK, NATIONAL ASSOCIATION TO
                         CONFIRMATION OF THE CHAPTER 13 PLAN

          JPMorgan Chase Bank, National Association, a secured creditor, by its attorneys, Gray &

Associates, L,L.P., objects to the confirmation of the proposed plan on the following grounds:

          1   .   The creditor holds a secured interest in the real estate locate d at 616 E Day Ave,

Whitefish Bay,    WI 53217-4841 (Milwaukee County Property)        and the real estate located at 5I4 Sharpes

Dr. Unit 19, Elkhart Lake,   WI   53020 (Sheboygan County Property).

          2.      The plan does not comply with the provisions of Chapter 13 in that:

          (a)     The creditor has not accepted the plan;

          (b)     The plan may not be feasible.

          (c)     With respect to the Milwaukee County Property, the plan does not propose to make any

adequate protection payments to thc creditor while the property is being marketed for sale. The plan is

vague with respect to the marketing of the property and fails to provide any recourse to the creditor in the

cvent the property is not sold within 6   months. The plan fails to provide for payment of the creditor's

claim and fails to provide for surrender of the property. None of the requirements of Section 1325 are met


l)rafted b)¡:

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Gray & Associates, L.L.P. is attempting to collect a debt and any information obtained will be used for
that purpose. Ifyou have previously received a discharge in a chapter 7 bankruptcy case, this
cotntnunication should not be construed as an attempt to hold you personally liable for the debt.


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for confirnation of the plan.

            (d)       The plan improperly proposes a "cramdown" of the creditor's mortgage with respect to

the Sheboygan County Property in that it suggests that the debtors                will hold title to the subject real   estate

free and clear of the creditor's lien upon payment of the secured portion of the claim in the amount                    of
$285,000.00 @ 5.00%. The debtors further propose a monthly payment of $1,5229.94 [sic] per month

with   a   balloon payment of $266,427.41 due December                2025.   The creditor contests the valuation of the

property and believes the value of the property is significantly              higher. A sheriff   s sale was held on

October     7   ,2021 in which a third party bidder successfully bid on the properly in the amount of

$500,000.00. The creditor further contests the method of payment in that a lump sum payment four

years from now is speculative and creditor requests equal monthly payments upon its secured claim.

            3.        The debtors may not qualify for Chapter 13 bankruptcy pursuant to 11 U.S,C. section

109(e) because the secured claims exceed the secured debt limit of $1,257,850. The creditor's secured

claim alone is approximately         $ 1,278   ,998.17   .   The creditor is in the process of preparing and filing its

proof of clairn.

           4.         The foregoing prevents confirmation of the debtors'plan pursuant to 1l U.S.C. section

1325.

           WHEREFORE, an objection is made to the confirmation of the plan, that a hearing upon this

objection be schcduled ancl that the clerk issue notice of said hearing to the appropriate parlies and that

the secured creditor be ar.varded such and further relief as the court may deem to be just and equitable.


           Dated this          tsJ              day of November,202l

                                                             Gray &, Associates, L.L.P
                                                             A         for Creditor




                                                                    tate    No. 1010692




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IN RE                                                   Chapter:   13
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Gemignani                                               Case No. 21-25588-krnp

           Debtors

                                           CERTIFICATE OF SERVICE

        I hereby cerlify that on Novcmber t8 , 2021, the objection to confirmation of plan was
electronically filed in this case and served upon the following parties using the ECF system:

           Rebecca R. Garcia Tmstee

           Eastern District U.S. Trustee

           David G. Kingstad


        I further certify that on the same date, I mailed the same document(s) by the United States Postal
Service to the following non-ECF participants:

           Joseph A. Gemignani Sr.
           616 E Day Ave
           Whitefish Bay, WI 53217-4841

           Barbara A. Gemignanr
           616E Day Ave
           Whitefish Bay, WI 53217-4841


Dated this        r8             day of November,202l


                                                  Carley Pettis, Trainer
                                                  Gray & Associates, L.L.P




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